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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
         v.
                                                            Criminal Action No. 22-413 (CKK)
 DOMINIC X. BOX,
              Defendant.


                                              ORDER
                                         (November 30, 2023)

        On November 30, 2023, the Government filed a [48] Unopposed Motion to Detain

Defendant Dominic Box, to Reschedule the December 1 Change of Plea Hearing, and to Exclude

Additional Time Under the Speedy Trial Act.

        The Court shall, in a separate Minute Order, address the rescheduling of the plea hearing

and exclusion of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.

        As for the Government’s motion to detain Defendant Dominic Box, the Defendant

consents to the motion. Under 18 U.S.C. § 3148(a), “[a] person who has been released under

section 3142 of this title, and who has violated a condition of his release, is subject to a

revocation of release.” Specifically, “[t]he judicial officer shall enter an order of revocation and

detention if, after a hearing, the judicial officer finds that there is . . . clear and convincing

evidence that the person has violated any other condition of release . . . [and that] the person is

unlikely to abide by any condition or combination of conditions of release.” 18 U.S.C. § 3148(b).

        Defendant Box has repeatedly violated his pre-trial conditions, including the condition

that he “must not violate federal, state, or local law while on release commit any state or federal

crimes.” See ECF No. 14 at 1. Defendant was charged with various state charges in Florida.

See generally ECF Nos. 33, 36, 37, 38, 43, 37. Based on the record before the Court, and
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pursuant to 18 U.S.C. §§ 3148(b)(1)(B) and (b)(2), the Court finds by clear and convincing

evidence that Defendant Box has violated conditions of his release, that he is unlikely to abide by

any condition or combination of conditions of release.

       In accordance with these findings, it is hereby ORDERED that the Government’s [48]

Motion is GRANTED in so far as it seeks the detention of Defendant Dominic Box. It is further

ORDERED Defendant Box’s release is REVOKED and that Defendant shall be REMANDED

to the custody of the United States Marshal Service.

       SO ORDERED.


Dated: November 30, 2023                                    /s/
                                                       COLLEEN KOLLAR-KOTELLY
                                                       United States District Judge
